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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
   PRODUCTS LIABILITY                                                              20-MD-2924
   LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO:

          19-cv-25220-RLR
          20-cv-14023-RLR
          20-cv-20332-RLR
          20-cv-80101-RLR
          20-cv-80110-RLR
          20-cv-80111-RLR
          20-cv-80178-RLR
          20-cv-80249-RLR
          20-cv-80278-RLR
          20-cv-80286-RLR
          20-cv-80306-RLR
          20-cv-80316-RLR
          20-cv-80327-RLR
          20-cv-80362-RLR
          20-cv-80363-RLR
          20-cv-80364-RLR
          20-cv-80479-RLR
          20-cv-80497-RLR
          20-cv-80612-RLR
          20-cv-81182-RLR

                             ORDER DECONSOLIDATING CASES

          This matter comes before the Court on the Notices of Voluntary Dismissal filed for the

   above-referenced cases. In light of the fact that these cases have been dismissed, it is ORDERED

   AND ADJUDGED that:

              1. The above-reference cases are DECONSOLIDATED from MDL proceeding

                 20-MD-2924.
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              2. The above-reference cases shall remain CLOSED.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 19th day of August,

   2020.


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                                                   ROBIN L. ROSENBERG
                                                   UNITED STATES DISTRICT JUDGE




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